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 7

 8   Counsel for Defendant Camacho
 9

10                                  IN THE UNITED STATES DISTRICT COURT
11                              FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                           OAKLAND DIVISION
13

14     UNITED STATES OF AMERICA,                            Case No.: CR 22–00083 JSW
15                     Plaintiff,                           JOINT STATUS REPORT AND
                                                            REQUEST FOR CONTINUANCE
16            v.
17     ALAN CAMACHO,
18                     Defendant.
19

20          Pursuant to the Court’s order of April 4, 2022, Docket # 17, the parties submit the following

21   status conference statement and request for continuance.

22          The present case charges Mr Camacho with possession of a machinegun and auto sears in

23   violation of 18 U.S.C. § 922(o). Mr Camacho remains out of custody.

24          The government has produced additional discovery and defense counsel continues to review

25   that discovery with Mr Camacho to determine whether this matter will move forward with litigation

26   or resolution. The parties therefore request that the Court continue this matter to June 7, 2022, and

27   that the Court exclude time under the Speedy Trial Act for effective preparation of counsel. 18 U.S.C.

28   § 3161(h)(7)(A) and (B)(iv). If the parties reach a proposed disposition, they will alert the Court and

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     CAMACHO, CR 22–00083 JSW
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 1   reset the matter on a date available to the Court.
 2
            Dated: May 10, 2022                           STEPHANIE HINDS
 3                                                        United States Attorney
 4

 5                                                By:     _______/S/_______________
                                                          KYLE WALDINGER
 6                                                        Assistant United States Attorney
 7

 8        Dated: May 10, 2022

 9                                                            JODI LINKER
                                                              Federal Public Defender
10

11                                                               /S/
                                                              JEROME E. MATTHEWS
12
                                                              Assistant Federal Public Defender
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14                       [PROPOSED] ORDER CONTINUING STATUS CONFERENCE
15          Good cause appearing therefor, IT IS ORDERED that the status conference presently set for
16   May 17, 2022 be continued to June 7, 2022, and that time under the Speedy Trial Act be excluded for
17   effective preparation of counsel, taking into account the exercise of due diligence. 18 U.S.C. §
18   3161(h)(7)(A) and (B)(iv).
19

20          Dated: May ____, 2022                         ___________________________________
                                                          HON. JEFFREY S. WHITE
21                                                        United States District Judge

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     JOINT STATUS REPORT
     CAMACHO, CR 22–00083 JSW
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